21-10699-dsj        Doc 186       Filed 10/07/21 Entered 10/07/21 14:45:28           Main Document
                                               Pg 1 of 2


TOGUT, SEGAL & SEGAL LLP
One Penn Plaza, Suite 3335
New York, New York 10119
(212) 594-5000
Neil Berger
Brian F. Shaughnessy
Minta J. Nester

Attorneys for Albert Togut, Not Individually
But Solely in His Capacity as Chapter 7 Interim Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
                    In the Matter                              :   Chapter 7
                                                               :   Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
KOSSOFF PLLC,                                                  :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

    AFFIDAVIT OF SERVICE OF ORDER TO SHOW CAUSE (A) SCHEDULING
     A HEARING TO CONSIDER ENTRY OF A CONTEMPT CITATION, THE
  IMPOSITION OF SANCTIONS AND (B) DIRECTING AMERICAN NATIONAL
   LIFE INSURANCE COMPANY OF NEW YORK TO ATTEND SUCH HEARING

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

       EVELYN OZUNA, being duly sworn, deposes and says: deponent is not a party
to the action, is over 18 years of age and resides in New York, New York.

       On October 4, 2021, deponent served a copy of the Order to Show Cause (A)
Scheduling a Hearing To Consider Entry of a Contempt Citation, The Imposition of Sanctions
and (B) Directing American National Life Insurance Company of New York To Attend Such
Hearing, [Docket No. 184] upon the party set forth on the service list annexed hereto by
FedEx.

                                                                   /s/ Evelyn L. Ozuna
                                                                   EVELYN OZUNA
Sworn to before me this
7th day of October 2021

/s/ Cynthia Juliano
    NOTARY PUBLIC
21-10699-dsj   Doc 186   Filed 10/07/21 Entered 10/07/21 14:45:28   Main Document
                                      Pg 2 of 2




                                     SERVICE LIST

By Fedex
American National Life Insurance Company of New York
1 Moody Plaza
Galveston, TX 77550
Attn: President, Officer, General or Managing Agent

Sonia Reyes, Internal Audit Department
American National Life Insurance Company of New York
1 Moody Plaza
Galveston, TX 77550
